                                                                        ctEnrs OFFICE u.
                                                                                       S.DISQ COURT
                                                                                  AT RG NOKE,VA
                                                                                      FILED
                     IN TH E U N ITE D STATE S D ISTM CT COU RT
                    FO R TH E W ESTE RN D ISTRICT O F W RGIN IA                   APR 1122î9
                             H ARRISO N BU RG D IV ISION
                                                                             JULIA C,DUDLEM       E'
                                                                                                   RK
                                                                            DY:
 W RGIN IA IN DU STRIM .,                                                                     R
 PIA ST ICS,IN C.,

       Plaintiffy
                                                  CivilAction N o.5:18-cv-00119
 V.


 CA BIN ET SAVE R LLC,

       D efendant.                                By:   M ichaelF.U rbansld
                                                        ClliefU.S.DistrictJudge
                             M E M O RAN D U M O PIN IO N

       Tllism attercom esbeforethe courton plninéffVitginia IndustrialPlastics,lnc.'s

 (V1P)moéonfotjudgmentonthepleadings,flledonMarch 14,2019.ECFNo.25.
 DefendantCabinetSaverLLC (CabinetSaver)respondedon March 28,2019.ECF Nù.27.
 W P replied on April5,2019.ECF N o.28.Forthefollowing reasons,V IP'sm otion is

 D EN IED .

                                             1.

        V1P ftled itscom pllintagainstCabinetSaveron Septem ber12,2018.ECF N o.1.

 Tlaissuitarisesfrom the use ofthe nom e TfcabinetSavers,''used by 130th parùesto zeferto

 plasdc linersdesigned to protectkitchen sink cabinetsand othersurfacesfrom water

 dam age.ECF N o.1,at5;ECF N o.7,at2.80th partiesm anufacture productsoftlais

 description.ECF N o.1,at5;ECF N o.7,at2.V1P ownsU nited StatesTradem ark

 Registration No.5,426,605fortheuseoftheffcabinetSaver''mark (theMatkl,ftledwith the
 United StatesPatentandTrademark Office(USPTO)onJuly14,2017.ECF No.1,at29


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 ECF N o.7,at1.In itscomplaint,V1P allegesttademarkinfringement,falseassociation/false
 endorsement,falsedesignation ofsoutceand/ororigin,and unfaircompedtion against
 CabinetSaver.ECF N o.1.

       In itsAnsw er,CabinetSaverasserted two counterclnim s,atthebase ofwhich wasan

 allegaéon thatV IP com m itted fraud in the procurem entofitstradem ark zegistration.ECF

 N o.7,at4-5.V1P m oved to dismissthesecounterclqim son N ovem ber19,2018.ECF N o.

 15.Thecotzrtgtanted thism otion on D ecem ber11,2018.ECF N o.20.V1P now m ovesfor

 judgmenton thepleadings,atguing'thatCabinetSaver'sTfentirebasisforclniming IVIPqlacks
 legalrightsto theM ark isbased on the erroneouspzenaisethatV 1P'srightsto the M atk are

 invalid due to fraudulentconduct,''and thatthe cotut'sdism issalofthiscountetclnim

 elim inatesanyissueofm aterialfact.ECF N o.26,at3-4.

                                             II.

        Rule 12(c)oftheFederalRulesofCivilProcedureallowsapartyto movefor
 judgmentonthepleadings'fgaqftertlw pleadingsateclosed.''<<A motionforjudgmenton
 thepleadingspursuanttoRule12(c)isanalyzed underthesamestandard asaFederalRule
 ofCivilProcedure12$)(6)motiontodisrniss.''Mendenhallv.Hanesbrands-lnc.,856.F.
 Supp.2d717,723(M .D.N.C.2012)(cidngBurbachBroad.Co.ofDel.v.ElkinsRadio
 Cp-r-
     p.,278F.3d 401,405-06 (4th Ciz.2002)).
               Therefore,amoùon forjudgmenton thepleadingsT'should only
               be granted if,after accepting allwell-pleaded allegations in the
               plaintiff's com plaint as ttue and drawing al1teasonable factazal
               inferences from those facts in the plainéff's favor,it appeats
               ceztain thattheplaintiffcannotprove any setoffactsin support
               oflaiscbim entitling 1,1% to zelief.'i



                                              2
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 Dra ezv.PLIVA USA.Inc.,741F.3d470,474(4thCir.2014)(quotingEdwardsv.Cityof
 Goldsboro,178F.3d231,244 (4th Cit.1999)).SeeBookerv.Peterson Cos.,412Fed.App'x.
 615,616(4thCir.2011)(<flnordertosutviveamodonforjulgmenton thepleadings,the
 com pbintm ustcontain sufficientfacts<to raise arightto reliefabove thespeculativelevel'

 andfstateaclaim toteliefthatisplausibleonitsface.'''(quodngBellAtl.Co .v.Twombl,
 550U.S.544,555(2007)).
       But,modonstodisrnissandmodonsforjudgmentonthepleadingsarenotidentkal:
 TftguqnlikeonaRule129$(6)motion ...onaRule12(c)modonthegq ourtmayconsiderthe
 Answeraswel1.'''M endenhall,856F.Supp.2dat724(bracketsandellipsisitloriginal)
 (quoéngAlexanderv.Ci ofGreensboro,No.1:09-CV-293,2011W L 3360644,at*2
 (M .D.N.C.Aug.3,2011)).'VheTfactualallegationsin the (A nsweratetaken asttazeto the
 extenttheyhavenotbeendeniedordonotconflictwiththegq omplaint.'''J.
                                                                  dz.(bracketsin
 original)(quotingFarmerv.W ilsonHous.Auth.,393F.Supp.2d384,386(E.D.N.C.
 2004)).Moreover,ffgiqn Tdeternniningamodon forjudgmentonthepleaclings,thegq ourt
 mayconsiderdocumentsincorpozatedbyzeferenceinto thepleadings.'''Id.(secondbzackets
 irzoriginal)(quotingPbf-mer,393F.Supp.2d at386).However,Tflijf,on amoéon for
 judgmenton thepleadings,mattersoutsidethepleadingsarepresentedtoand notexcluded
 bythecourt,themotionshallbetreatedasoneforsummaryjudgmentandclisposedofas
 provided in Rule 56.77A.S.AbellCo.v.Baltim oteT o ra llicalUnion N o.12,338 F.2d

 190,193 (4th Cir.1964)(quotingFed.R.Civ.P.12(c)).Thedecision toexcludematters
 outside the pleadingsisffdiscreéonaryw1t.
                                         11the court.'?Id.




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       Shouldthecourtconsidermattersoutsidethepleadings,themotion fozjudgmenton
 thepleadingsmaybetreated asamoéon forsummaryjudgment.Pursuantto FederalRule
 ofCivilProceduze56(a),thecourtmustffgrantslpmmalyjudgmentifthemovantshowsthat
 thereisnogentzinedisputeastoanymaterialfactandthemovantisentitledtojudgmentas
 amatteroflaw.''Fed.R.Civ.P.56(a);CelotexCo .v.Catrett,477U.S.317,322
 (1986)9Glnnv.EDO Co .,710F.3d209,213(4thCit.2013).W henmakingthis
 deterrnination,thecourtshotûd considerTrthe pleadings,depositions,answersto

 interzogatories,andadmissionson fûe,togetherwith ...(anyjaffidavits''fzed bythe
 pnrl
    ies.Celotex,477 U .S.at322.W hethera factism aterialdependson therelevant

 substantivelaw.Andersonv.LibertyLobby,Inc.,477U.S.242,248(1986).Tr nlydisputes
 overfactsthatnnightaffectthe outcom e ofthe sttitunderthegoverning 1aw will'
                                                                            properly

 precludetheentryofsllmmaryjudgment.Factualdisputesthatareitrelevantotunnecessary
 willnotbecounted.''ld.(citadon omitted).Themovingpartybearstheiniéalburden of
 dem onstrating theabsence ofagenuineissue ofm aterialfact.Celotex,477 U.S.at323.If

 thatburden hasbeen m et,the non-m oving patty mustthen com e forward and establish the

 specificmaterialfactsindisputetosurvivesummatyjudgment.M atsushtaElec.Indus.Co.
 v.ZenithRadioCo .,475U.S.574,586-87(1986).
       In deteM ining whetheragenlzineissue ofm aterialfactexists,the cokutview sthe

 factsand draw sallreasonableinferencesin the lightm ostfavorable to the non-m oving

 party.Glnn,710F.3dat213 (citingBondsv.Leavitt,629F.3d 369,380 (4th Cir.2011)).
 lndeed,Tfgijtisan.
                  faxiom thatin rllling on amotion forsummaryjudgment,theevidenceof
 thenonmovantistobebelieved,and alljustifiableinferencesaretobedrawnin l'
                                                                        lis

                                            4
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 favot.'7:M cAitlaids Inc.v.Kim berl -clatk Co .,N o.13-2044,2014 W L 2871492,at*1

 (4thCir.June25,2014)(internalaltetationonnitted)(citingTolanv.Cotton,572U.S.650,
 651(2014)(percutiaml).Moreover,Tfgcltedibilitydeterminaéons,theweigllingofthe
 evidence,andthedrawingoflegitimateinfetencesfrom thefactsarejuryftmcdons,not
 thoseofa )
          'udge....''Anderson,477 U .S.at255.H owever,thenon-m oving party Tfm ustset

 forth specifk factsthatgo beyond the Tm ere existence ofa scintillaofevidence,'''G lnn,710

 F.3dat213(quodngAnderson,477U.S.at252),andshow thatffthereissufficientevidence
 favoringthenonmovingpartyforajurytoretatnaverdictforthatparty.''Res.Bankshares
 Co .v.St.PaulMerc Ins.Co.,407F.3d631,635(4thCir.2005)(quotingAnderson,477
 U.S.at249).Tfln otherwords,to grantsummaryjudgmentthegcjouttmustdete= inethat
 no teasonablejurycould findforthenonmovingpartyon theevidencebeforeit.''Mossv.
 ParksCo .,985F.2d736,738(4thCir.1993)(citingPedniCo .v.PeriniConst.lnc.,915
 F.2d121,124(4thCit.1990)).
                                            111.

       A plaintiffbringing aclaim oftradem ark infringem entclnim orfalse designation of

 originalmark,likeVIP,mustshow that:(1)itpossessesamark;(2)theopposingpartyused
 thatmark;(3)theopposingpatty'suseofthemarkoccurredincommetce;(4)theopposing
 partyused them ark in connection wit.
                                     h the sale,offering fots'
                                                             ale, distdbution,or

 adverdsementofgoodsorservices;and (5)theopposingpartyused themarkitaawaylikely
 to confuseconsllmers.Lam arellov.Falwell,420F.3d 309,313 (4th Cir.2005).VIP argues
 thatCabinetSaverhasconceded thatitusesthe M ark in com m erce and in connecéon wit.h

 the sale ofitscabinetliners.ECF N o.26,at6.Italso atguesthatitsregistered m ark,the


                                             5
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 tradem atk registtadon ofwlzich isattached to the Com plaint,ispresum ed valid and hasgone

 unchallenged by CabinetSaverexceptthrough theallegation offraud orinequitable conduct.

 Ld.sat6-7.SeeECF N o.1-2.Finally,W P goesthzough thenon-exclusivefactorsexamined
 by courtsin detetmining alikelihood ofconfusion and atguesthateach factorpointswithout

 question to theconclusion thatCabinetSaverisusing them ark in aw ay thatcauses

 consum erconfusion.ECF N o.26,at7-9.See SaraLee Co .v.K a ser-lkotherCor .,81

 F.3d455,463-64(4t.hCir.1996).
        CabinetSaverrespondsthatVIP'sm otion isuntim ely,prem atare,and misconstrues

 Rule12(c).ECF No.27,at2.CabinetSaverexpoundsthat,whileitscounterclnimshave
 been disrnissed,ithas130th denied V1P'ssubstanéve allegationsand assetted anum berof

 affitmativedefensesinitsAnswer,130thofwhichbazjudgmentatthisstageofproceeclings.
 Ld.aat3-4.Finally,CabinetSavetatguesthatVIP'sregistration ofthem arkgivesriseonlyto ,

 azebuttablepresum ption ofitsvalidity,and thatVIP isattem pting to citctmw entitsbutden

 to show likelihood ofconfusion through thismodon.1daat6.
        W ithoutconducting any inquiryinto the likelihood ofconfusion by CabinetSaver's

 use oftheM ark,orany otherelem entofVIP'sttadem ark infringem entclnim ,the court

 findsthatthism attetcannotberesolved purely upon the pleadingspzesently flled.V1P's

 assertion thatdiscoveryw ould do nothing to <frefm e the factsasthey stand''failsto addtess

 thenum erousfacm alallegationsin thecom plaintthatwere denied by CabinetSaver.ECF

 N o.25,at1.ln response to V IP'sflrstclnim oftradem ark inflingem ent,CabinetSaverhas

 m ademany factazaldenials,includingrejectingtheasserdonsthatitsuseoftheM atkislikely
 to cause confusion,thatthisuse hascaused confusion,and thatactazalcustom ershave



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 indicated confusion.ECF N o.7,at3.The denialofthese factualasserdonsbarsthe court

 from gzantingjudgmenttoVIP ptuelyupon thepleadings.SeeInreMabbott,255B.R.787,
 789rfBecausetheCouttmustgivethenonmovant'sassertionssubstantialdeference,a
 defendantneedonlyusethewordfdeny'ingoodfahhtoavoidjudgmentonthepleaclings
 on inadequatezesponsegzounds.7).
        Beyondthis,CabinetSaverhasasserted anumberofafùtvnaévedefenses.ECF No.

 7,at4.A sVIP pointsout,the fifth such defense,thatW P'scbim sarebatred becauseVlP

 obtained itsTradem ark Registtation thtough fraud,hasbeen disnnissed by the cotlrt.ECF

 No.20.CabinetSavezassertsfourotheraffit-mativedefenses,howevet:(1)thatVlP has
 ff
  unclean hands'';(2)thatVIP'sclnimsarebarredbythedoctrineoflaches;(3)thatVIP has
 acquiesced to CabinetSaver'suseoftheMark;and (4)thatVlP isthejuniorusezofthe
 Markandisattempéngtohjackitfzom CabinetSaver.ECFNo.7,at4.VIP hasnotmoved
 to strikethesedefenses.ffgijfthedefendantraisesan afflzmativedefensein hisanswer,itwill
 usuallybarjudgmentonthepleadings.'?Butnsv.ConsolidatedAmusementCo.,182F.R.D.
 609,612 (13.Haw.1998).
        W hile VIP pointsouttlzatthe cotzrthasdisnzissed CabinetSaver'scounterclnim and

 arguesthattlniselirninatesany defenseto itsalleged tradem ark infringem ent,the court's

 disrnissalofthe countezclnim wasbased putely upon CabinetSaver'sassertion thatV1P

 ffobtainedafederaltradem arkregisttation fraudulentlyin thatVIP'sgsicjfraudulentlyalleged
 adateofflrstuseoftheM ark alm ostten yeazspriorto itsacm alftrstuse ofthe M ark,and

 forthe sole purpose ofinfringing on CabinetSaver'sttadem ark rights.''ECF N o.7,at5.A s

 the cotutrlaled then and reiteratesnow,an erroneousdate of& stuse cannotbe thegrounds




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 foza fzaud in the procutem entclnim .See e. .,Pon Ex .CoutierCot .ofAm .v.Pon

 Ex .Delive SetN.,872F.2d317,319(9th Cir.1989)(ffl'
                                                  hecloim ofadateoffltstuseis
 notamaterialallegadon aslongastheftrstusein factprecededtheapplicaéon date.');Lewis
 v.MicrosoftCo .,410F.Supp.2d432,437-38(E.D.N.C.2006),affd,222 F.App'x290
 (4thCir.2007)(fndingtradematkinfzingementchimswetebazzedbyzesjudicataaftezthe
 Ttadem ark Boazd held thatan incotrectdateofftrstusewasnotm aterialand did not

 conséttztefraud);Geor ia-southern 011lnc.v.Harve m chardson,16U.S.P.Q.Zd 1723
 (T.T.A.B.July19.,1990)(TfThus,thedateoffttstuseallegedbyapplicantinitsapplicadon,
 eveniffalse,cannotbesaidto consdtutefraud on theoffce.').Thecourt'sdisrnissalof
 CabinetSaver'scountercl/im doesweigh upon itsfifth affitm ative defense,thatVIP'scl/im s

 arebarred becauseVIP TTobtained itsTzadem ark Registration through fraud,''ECF N o.7,at

 4,butdoesnotelim inate CabinetSaver'sotheraffit-mative defenses.

       VIP assertsthatCabinetSavethasfailed to provideitsaffltm adve defenseswith any

 facttzalsupport,and assuch,the cotutm ayignoze them .ECF N o.28,at1.SeeCook v.

 Howard,484Fed.App'x.805,811(4thCir.2012)rfFacttzalallegationsthataresimplyflabels
 and conclusions,and a form ulaictecitadon oftheelem entsofa causeofaction'arenot

 sufficient.''(internalcitationsomittedl).CabinetSaverhas,however,alleged thatVIP knew
 ofCabinetSaver'suseoftheMarkandadopteditinanattempttoffltijack''theMarkand
 f<cause confusion,''and thatCabinetSaverffhasbeen and continuesto be hnt-med''by this

 conduct.ECF N o.7,at4.These facts,wlûle insufhcientto supportan asseréon offraud in

 theprocurem entoare suffkientto supportanotherofCabinetSaver'safistvnadvedefenses-

 thatofunclean hands.SeePediam ed Pharm aceuticals,Inc.v.BreckenridgePharm aceuécal,


                                            8
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 Inc.,419F.Supp.2d715,727(D.Md.2006)(describingthedefenseofuncleanhands,
 stating thattlne docttine ffclosesthedoorsofacourtofequityto onetainted with

 inequitablenessorbad faith relativeto the m atterin which he seeksrelief,howeverim proper

 m ay have been thebehaviorofthe defendant,''and furtherrequiring thatapartyinvoking

 thedoctrineofuncleanhandsshow theywereinjutedbytheotherpartfsconduct).W ithat
 leastone ofthe CabinetSavet'saffttm adve defensesnlinim ally suppotted,the couttcannot

 grantamoéonforjudgmentonthepleaclings.
                                           IV.

        Forthereasonsexplainedabove,thecotutDEN IESVlP'smotion forjudgmenton
 the pleadings.W ith no cliscoverycurrently beforethecourt,the m otion cannotbeconvetted

 toamotionfors'AmmaryjudgmentandconsideredunderRule56.
        An appropriate Orderwillbe entered.

                                                 Entered: o q -/t- z.o /T
                                          /w/ - ''               /..               .'
                                                 H cha    .Urbansld
                                                 U ' d StatesDistrictludge




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